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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 MARCEL BROWN,

                        Plaintiff,                       No. 19-cv-4082

          v.                                             The Honorable Lindsay C. Jenkins

 CITY OF CHICAGO, et al.

                        Defendants.


               DEFENDANTS’ JOINT RENEWED MOTION FOR JUDGMENT
                             AS A MATTER OF LAW

         Defendant Michael Mancuso, Defendant Geri Lynn Yanow, as special representative for

Kevin McDonald “Defendants”), and Defendant the City of Chicago, by and through their

undersigned counsel, file this Renewed Motion for Judgment as a Matter of Law pursuant to Rule

50(b), and in support thereof, state as follows:

         1.     A jury trial was conducted in this case from August 26, 2024 through September 9,

2024,.

         2.     At trial, Plaintiff Marcel Brown presented two claims to the jury: (1) a Fifth

Amendment claim for allegedly coercing Plaintiff to make the incriminating statements he made,

and (2) a Fourteenth Amendment due process claim alleging fabricated evidence relating to the

Plaintiff's incriminating statement that was introduced against Plaintiff in his “criminal case.”

         3.     Before the Court submitted these two claims to the jury, Defendants moved for

judgment as a matter of law on both claims, pursuant to Federal Rule of Civil Procedure 50(a).

         4.     On September 9, 2024, the jury returned a verdict “for Plaintiff” on both claims.
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       5.        On September 16, 2024, the Court denied Defendants’ Rule 50(a) motion and

entered judgment in favor of Plaintiff and against Defendants Mancuso and McDonald on both

Plaintiff’s claims (Dkts. 438 and 439.)

       6.        Pursuant to Rule 50(b), Defendants now renew their Motion for Judgment as a

Matter of Law.

       7.        The Court should grant judgment as a matter of law on Plaintiff’s Fifth Amendment

claim because: (1) Plaintiff did not prove Defendants were responsible for the coerced confession

being used against Plaintiff or that Defendants knew that the confession was coerced; (2) the

legality of Defendants’ conduct is well-established; and (3) Defendants are entitled to qualified

immunity. Relatedly, Plaintiff failed to prove he was entitled to damages for pretrial detention on

his Fifth Amendment claim.

       8.        The Court should grant judgment as a matter of law on Plaintiff’s Fourteenth

Amendment claim because: (1) any pretrial use of the allegedly fabricated evidence cannot support

Plaintiff’s fabrication claim; (2) Plaintiff failed to establish the police report at issue was actually

and materially false or that Defendants knew it to be false; and (3) Plaintiff failed to prove

causation or Defendants’ personal responsibility. Relatedly, the evidence shows Defendant

Mancuso—the only Detective allegedly involved in the fabrication claim—is absolutely immune

from any possible liability.

       9.        For these reasons and as detailed more fully in Defendants’ Memorandum of Law

in support of their Renewed Motion for Judgment as a Matter of Law, Defendants respectfully

request this Court to grant them Judgment as a Matter of Law on both of Plaintiff’s claims.




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                                         CONCLUSION

       WHEREFORE Defendants ask the Court enter judgment in favor of Defendants on both

of Plaintiff’s claims, pursuant to Federal Rule of Civil Procedure 50(b).

                                                       Respectfully submitted,

 Dated: October 15, 2024                             DEFENDANT OFFICERS


                                                     By:    /s/ Kyle L. Flynn
                                                              One of Their Attorneys
                                                     John F. Gibbons
                                                     Kyle L. Flynn
                                                     Thomas Quinn Ford
                                                     Tyler Lynn Salway
                                                     Greenberg Traurig, LLP
                                                     77 West Wacker Drive, Suite 3100
                                                     Chicago, IL 60601
                                                     gibbonsj@gtlaw.com
                                                     flynnk@gtlaw.com
                                                     fordq@gtlaw.com
                                                     salwayt@gtlaw.com


                                                     DEFENDANT CITY OF CHICAGO


                                                     By:    /s/ James P. Fieweger
                                                              One of Its attorneys

                                                     James P. Fieweger
                                                     Carolyn E. Isaac
                                                     Ashni Gandhi
                                                     Special Assistant Corporation Counsel
                                                     MICHAEL BEST & FRIEDRICH LLP
                                                     444 W. Lake Street, Suite 3200
                                                     Chicago, IL 60606
                                                     jpfieweger@michaelbest.com
                                                     ceisaac@michaelbest.com
                                                     ashni.gandhi@michaelbest.com



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                              CERTIFICATE OF SERVICE

      The undersigned, an attorney, certifies that the foregoing document was served on all

counsel via CM/ECF on October 15, 2024.

                                                          /s/ Kyle L. Flynn




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